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           Case 1:19-cv-00315-RGA Document 22 Filed 05/13/19 Page 1 of 3 PageID #: 180



                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE


          MERCK SHARP & DOHME CORP.,

                                 Plaintiff,

                   V.

          MYLAN PHARMACEUTICALS INC., and                      C.A. No. 19-315-RGA
          MYLAN INC.,

                                 Defendants.


                                  STIPULATION AND ~ ] ORDER

                  WHEREAS on February 13, 2019, Plaintiff Merck Sharp & Dohme Corp. ("Merck")

         filed a complaint (D.1. 1) against Defendants Mylan Pharmaceuticals Inc. ("MPI") and Mylan

         Inc. (Merck, MPI, and Mylan Inc. collectively referred to hereinafter as the "Parties") alleging

         infringement of U.S. Patent No. 7,326,708 ("the '708 patent) and U.S. Patent No. 8,414,921

         ("the '921 patent");

                  WHEREAS on February 13, 2019, and February 19, 2019, Merck filed complaints in

         related actions C.A. No. 19-310-RGA, C.A. No. 19-311-RGA, C.A. No. 19-312-RGA, C.A. No.

         19-313-RGA, C.A. No. 19-314-RGA, C.A. No. 19-316-RGA, C.A. No. 19-317-RGA, C.A. No.

         19-318-RGA, C.A. No. 19-319-RGA, C.A. No. 19-320-RGA, C.A. No. 19-321-RGA, and C.A.

        · No. 19-347-RGA alleging infringement of the '708 patent and the '921 patent;

                  WHEREAS Mylan moved to dismiss Merck's complaint for improper venue on March

         21, 2019 (D.I. 10);

                  WHEREAS the Parties agree that venue is proper with respect to MPI in the Northern

         District of West Virginia, but disagree as to whether venue is proper with respect to MPI in the

         District of Delaware;


         MEI 30408054v.1
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          Case 1:19-cv-00315-RGA Document 22 Filed 05/13/19 Page 2 of 3 PageID #: 181



                 WHEREAS on May 2, 2019, Plaintiff filed a complaint against MPI and Mylan Inc. in

        the Northern District of West Virginia having Civil Action Number 1:19-cv-00101;

                 WHEREAS the Parties desire to save judicial resources and resources of the Parties,

                 IT IS HEREBY STIPULATED AND AGREED, by and between the Parties hereto,

        subject to the approval of the Court, as follows:

                 1.       Plaintiff hereby dismisses without prejudice the complaint against MPI and Mylan

        Inc. pursuant to Rule 41(a)(l)(A)(ii); and

                 2.       The terms of this stipulation are made without prejudice to the respective

        positions of Merck, MPI, and Mylan Inc. as to whether venue in the District of Delaware is

        proper with respect to MPI.



        Dated: May 10, 2019                                     Respectfully submitted,

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        MEI 30408054v.1
   Case 1:19-cv-00315-RGA Document 22 Filed 05/13/19 Page 3 of 3 PageID #: 182



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*Admitted only in California. Practice supervised by D.C. Bar
members pursuant to D.C. Court of Appeals Rule 49(c)(8).




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MEI 30408054v.1
